    Case 23-60507-6-pgr            Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                       Desc
                                     Main Document     Page 1 of 49




UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK

                                                                    Hearing Date: May 7, 2024
In re:                                                              at 1:00 pm ET
                                                                    Hearing Location: Alexander Pirnie
The Roman Catholic Diocese of                                       U.S. Courthouse and Federal Building 10
Ogdensburg, New York,                                               Broad Street, Utica, New York

                                      Debtor.                       Objection Deadline: April 30, 2024

                                                                    Chapter 11

                                                                    Case No. 23-60507 (PGR)



    LIMITED OBJECTION TO CENTURY’S MOTION FOR APPROVAL OF PROPOSED
                 FORM OF THIRD-PARTY PROTECTIVE ORDER

           The Official Committee of Unsecured Creditors (the “Committee”) of the above-captioned

debtor and debtor in possession (the “Debtor” or the “Estate”) in this Chapter 11 Case (the

“Bankruptcy Case”), by and through its undersigned counsel, hereby files this Limited Objection

(the “Limited Objection”) to the motion of Century Indemnity Company as successor to CCI

Insurance Company, as successor to Insurance Company of North America (“Century”) for

Approval of Proposed Form of Third-Party Protective Order [Docket No. 473] (the “Motion”). 1

           In support of this Limited Objection, the Committee respectfully submits as follows:

                                             LIMITED OBJECTION

           1.       The Committee is not opposed to the approval of a form of protective order for third

parties who are producing documents in this Bankruptcy Case (the “Third-Party Protective

Order”). However, the application of any such form of protective order must be clearly limited to

third parties not already subject to protective orders or confidentiality agreements in this


1
    All capitalized terms used but not defined herein have the meanings ascribed thereto in the Motion.



4858-6222-8922.1 18493.002
    Case 23-60507-6-pgr           Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                         Desc
                                    Main Document     Page 2 of 49



Bankruptcy Case, and it must also be clear that the Bar Date Order 2 controls over any conflict with

such Third-Party Protective Order.

           2.       The Diocese already has a form of confidentiality agreements applicable to certain

insurers, 3 including Century, and with the Committee. 4 There should be no question that the Third

Party Protective Order does not impact the obligations of the Diocese, any of the insurers subject

to the Insurer Confidentiality Agreement or the Committee with respect to the Existing

Confidentiality Agreements.

           3.       This is no imaginary concern. Certain insurers already sought, under the guise of

a conflict between confidentiality agreements, to have the Insurer Confidentiality Agreement

control over the Bar Date Order. 5 Additionally, Century moved for reconsideration of the Bar

Date Order in an effort to undermine the confidentiality protections provided in the Bar Date

Order.6

           4.       The form of Third-Party Protective Order attached to the Motion is not at all clear

as to whether it impacts the application of Existing Confidentiality Agreements or the Bar Date

Order. This Court should not approve a form of Third-Party Protective Order that will lead to




2
    Order Establishing Bar Dates for Filing Proofs of Claim Bar Date Order [Docket No. 203].
3
 Protective Order Approving the Form of Confidentiality Agreement Between the Roman Catholic Diocese of
Ogdensburg, New York And Certain Insurance Carriers [Docket No. 244] (the “Insurer Confidentiality
Agreement”).
4
 Protective Order Approving the Form of Confidentiality Agreement Between the Roman Catholic Diocese of
Ogdensburg, New York and the Official Committee of Unsecured Creditors [Docket No. 219] (the “Committee
Confidentiality Agreement,” together with the Insurer Confidentiality Agreement, the “Existing Confidentiality
Agreements”).
5
  Certain Insurers Motion for Clarification of the Bar Date Order (the “Clarification Motion”) [Docket No. 335].
The Clarification Motion was filed by Interstate Fire & Casualty Company and Certain Underwriters at Lloyd’s,
and London and Certain London Market Insurance Companies.
6
 Century’s Motion for Reconsideration of the Order Establishing Bar Dates for Filing Proofs of Claim and
Approving the Form and Manner of Notice Thereof (the “Reconsideration Motion”) [Docket No. 237].

4858-6222-8922.1 18493.002                               2
 Case 23-60507-6-pgr            Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00            Desc
                                  Main Document     Page 3 of 49



confusion as to which protective order applies or provide an opportunity for any party to

circumvent the Existing Confidentiality Agreements or the Bar Date Order.

          5.        The Committee prepared comments to the form of Third-Party Protective Order to

clarify the limited application of the Third-Party Protective Order. A copy of the Committee’s

proposed form of Third-Party Protective Order is attached hereto as Exhibit A, and a redline

comparison between the Committee’s proposed form and Century’s proposed form is attached

hereto as Exhibit B.

          6.        The Committee also has other comments to the proposed form of Third-Party

Protective Order, including, the process for addressing disputes with respect to the designation of

documents as “confidential” and the time period for seeking to claw-back documents inadvertently

produced.

          7.        The Committee submits that the form of Third-Party Protective Order attached to

this Limited Objection should be the form approved by the Court.

          8.        The Committee provided counsel for Century and the Diocese with its proposed

comments to the Third-Party Protective Order on April 26, 2024. Century’s counsel provided

comments the Committee on April 29, 2024. The proposed form of Third-Party Protective Order

attached hereto incorporates further comments from the Committee and was shared with Century’s

counsel shortly before the filing of this Limited Objection. The Committee remains open to

continued discussion with Century and the Diocese on the form of the Third-Party Protective

Order.




4858-6222-8922.1 18493.002                         3
 Case 23-60507-6-pgr         Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00             Desc
                               Main Document     Page 4 of 49



          WHEREFORE, the Committee requests that the Court enter an order granting the Motion

approving the form of Third-Party Protective Order substantially in the form attached as Exhibit

A hereto, and granting such other and further relief as the Court may deem just, proper and

equitable.

Dated: April 30, 2024
       New York, NY
                                                   PACHULSKI STANG ZIEHL & JONES LLP

                                                   By: Ilan Scharf
                                                   James I. Stang
                                                   Ilan D. Scharf
                                                   780 Third Avenue, 34th Floor
                                                   New York, NY 10017
                                                   Telephone: (212) 561-7700
                                                   Email: jstang@pszjlaw.com
                                                           ischarf@pszjlaw.com

                                                   Counsel to the Official Committee of
                                                   Unsecured Creditors


                                                   BURNS BAIR LLP

                                                   By: Timothy Burns
                                                   Timothy W. Burns (admitted pro hac vice)
                                                   Jesse J. Bair (admitted pro hac vice)
                                                   10 E. Doty St., Suite 600
                                                   Madison, Wisconsin 53703
                                                   Telephone: 608-286-2808
                                                   Email: tburns@burnsbair.com
                                                           jbair@burnsbair.com

                                                   Special Insurance Counsel to the Official
                                                   Committee of Unsecured Creditors




4858-6222-8922.1 18493.002                     4
Case 23-60507-6-pgr   Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00   Desc
                        Main Document     Page 5 of 49




                         EXHIBIT A
 Case 23-60507-6-pgr         Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00            Desc
                               Main Document     Page 6 of 49




UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:

The Roman Catholic Diocese of                         Chapter 11
Ogdensburg, New York,
                                                      Case No. 23-60507 (PGR)
                               Debtor.



                             THIRD PARTY PROTECTIVE ORDER

          This Third-Party Protective Order (“Protective Order”) shall govern the production,

review, disclosure, and handling of any Disclosure or Discovery Material (as defined herein) by

any Third Party in connection with the above-captioned Chapter 11 case pending before the

United States Bankruptcy Court for the Northern District of New York (the “Bankruptcy

Court”), Case No. 23- 60507 (PGR) (the “Chapter 11 Case”) and/or Adversary Case No. 23-

80013-6 (the “Adversary Proceeding”).

          For the Avoidance of Doubt, this Order does not affect, amend or modify any existing

confidentiality agreements, protective orders applicable to any Producing Person and/or

Receiving Party, or any order of this Court entered in the Chapter 11 Case, including without

limitation the Order Establishing Bar Dates for Filing Proofs of Claim Bar Date Order [Docket

No. 203] in the Chapter 11 Case, the Protective Order Approving the Form of Confidentiality

Agreement Between the Roman Catholic Diocese of Ogdensburg, New York and the Official

Committee of Unsecured Creditors [Docket No. 219] and the Protective Order Approving the

Form of Confidentiality Agreement Between the Roman Catholic Diocese of Ogdensburg, New

York And Certain Insurance Carriers [Docket No. 244]. This Order applies to all disclosure




4876-5975-1096.5 18493.002
 Case 23-60507-6-pgr            Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00               Desc
                                  Main Document     Page 7 of 49



produced by a Third Party to a Receiving Party, formally or informally, on or after the date

hereof.

          With respect to any information from proofs of claim filed in this Chapter 11 Case, in the

event of any conflict between this Protective Order and the Bar Date Order, the Bar Date Order

shall control.


1.        PURPOSES AND LIMITATIONS

           Disclosure and discovery activity in this Chapter 11 Case may involve production by

 third parties of confidential, proprietary, or private information for which special protection from

 public disclosure may be warranted.

2.              DEFINITIONS

          2.1       Bar Date Order: Order Establishing Bar Dates for Filing Proofs of Claim Bar

Date Order [Docket No. 203].

          2.2       Challenging Party: a Receiving Party that challenges the designation of

information or items under this Order by a Designating Party.

          2.3       Committee Confidentiality Order: the confidentiality agreement among the

Debtor and the Committee, its members, professionals and counsel to the Committee members

signatory thereto that is the subject of the Protective Order Approving the Form of

Confidentiality Agreement Between the Roman Catholic Diocese of Ogdensburg, New York and

the Official Committee of Unsecured Creditors [Docket No. 219].

          2.4       “CONFIDENTIAL” Information or Items: information (regardless of how

it is generated, stored or maintained) or tangible things that qualify for protection under Federal

Rule of Bankruptcy Procedure 7026 and Federal Rule of Civil Procedure 26(c), including but not

limited to personally identifying information of alleged victims of sexual abuse.


4876-5975-1096.5 18493.002                         2
 Case 23-60507-6-pgr            Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                    Desc
                                  Main Document     Page 8 of 49



          2.5       Counsel (without qualifier): Outside Counsel of Record and House Counsel (as

well as their support staff).

          2.6       Designating Party: a Third Party that designates information or items that it

produces in disclosures or in responses to discovery as “CONFIDENTIAL.”

          2.7       Diocese: the Diocese of Ogdensburg, N.Y.

          2.8       Disclosure or Discovery Material: all items or information, regardless of the

medium or manner in which it is generated, stored, or maintained (including, among other things,

testimony, transcripts, and tangible things), that are produced or generated in disclosures or

responses to discovery in this matter.

          2.9       Expert: a person with specialized knowledge or experience in a matter pertinent to

this Chapter 11 Case or Adversary Proceeding who has been retained by a party or its counsel to

serve as an expert witness in this Chapter 11 Case or Adversary Proceeding.

          2.10      House Counsel: attorneys who are employees of a party in this Chapter 11 Case or

a Producing Party and provide legal services to their employer in the scope of their employment.

House Counsel does not include Outside Counsel of Record or any other outside counsel.

          2.11      Insurer Carrier Confidentiality Agreement: the confidentiality agreement among

the Debtor and the Insurers signatory that is the subject of the Protective Order Approving the

Form of Confidentiality Agreement Between the Roman Catholic Diocese of Ogdensburg, New

York And Certain Insurance Carriers [Docket No. 244].

          2.12      Outside Counsel of Record: attorneys who are not employees of a party but are

retained to represent or advise a party in this Chapter 11 Case and have appeared in this Chapter

11 Case on behalf of that party or are affiliated with a law firm which has appeared on behalf of

that party.



4876-5975-1096.5 18493.002                           3
 Case 23-60507-6-pgr            Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                 Desc
                                  Main Document     Page 9 of 49



          2.13      Producing Party: a Third Party that produces Disclosure or Discovery Material in

this Chapter 11 Case.

          2.14      Professional Vendors: persons or entities that provide litigation support services

(e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

organizing, storing, or retrieving data in any form or medium) and their employees and

subcontractors.

          2.15      Protected Material: any Disclosure or Discovery Material that is designated as

“CONFIDENTIAL,” and is not excepted from the scope of Protected Material under Section 3

or any other applicable provision hereof.

          2.16      Receiving Party: any of the following Parties that receives Disclosure or

Discovery Material from a Producing Party:

          (a)       The Diocese, its employees, its Outside Counsel of Record, and any professionals

retained by the Diocese provided that a single natural person, as an authorized signatory on

behalf of the Diocese, each Outside Counsel of Record and any professionals retained by the

Diocese, has signed the “Acknowledgement and Agreement to be Bound” that is attached hereto

as Exhibit A;

          (b)       The defendant insurance companies in the Adversary Proceeding (each an

“Insurer” and collectively the “Insurers”) together with their officers, directors and employees

(including House Counsel) and their respective successors, regulators, reinsurers, administrators,

House Counsel and Outside Counsel, to whom it is reasonably necessary to disclose the

information for this Chapter 11 Case and Adversary Proceeding, provided that a single natural

person, as an authorized signatory on behalf of each such Insurer or Outside Counsel, has signed

the “Acknowledgement and Agreement to be Bound” that is attached hereto as Exhibit A;



4876-5975-1096.5 18493.002                           4
 Case 23-60507-6-pgr            Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00              Desc
                                 Main Document     Page 10 of 49



          (c)       The Committee, its Outside Counsel of Record, and any professionals retained by

the Committee provided that a single natural person, as an authorized signatory on behalf of the

Committee, each Outside Counsel of Record, \any professionals retained by the Committee, and

counsel for any individual Committee member has signed the “Acknowledgement and

Agreement to be Bound” that is attached hereto as Exhibit A;

          (d)       The U.S. Trustee; and

          (e)       Any other Third Party, pursuant to an order of the Court;

          (f)       Any other persons specified in Paragraph 7.2 below, subject to any applicable

requirements set forth in Paragraph 7.2 below; and

          (g)       The executed acknowledgements required by Paragraph 2.16(a), (b) and (c) shall

be provided to the Diocese, Committee, Insurers and the Producing Party.

          2.17      Survivor Personal Information: Any documents, information or other materials

containing the personal information of survivors asserting that they were sexually abused.

          2.18      Third Party: Great American Assurance Company, Arthur J. Gallagher and Co.,

Gallagher Bassett Services, Inc., National Catholic Risk Retention Group, Inc., and any other

person or entity, including any and all of its officers, directors, employees, consultants, retained

experts, House Counsel and Outside Counsel of Record (and their support staffs) that is not a

signatory to (i) the Insurer Carrier Confidentiality Agreement and defendant in the Adversary

Proceeding, or (ii) the Committee Confidentiality Agreement.

3.        SCOPE

          The protections conferred by this Order cover not only Protected Material (as defined

above), but also (1) any information copied or extracted from Protected Material; (2) all copies,

summaries, or compilations of Protected Material; and (3) any testimony, conversations, or

presentations by Parties or their Counsel that might reveal Protected Material. However, the

4876-5975-1096.5 18493.002                           5
 Case 23-60507-6-pgr         Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                  Desc
                              Main Document     Page 11 of 49



protections conferred by this Order do not cover, and Protected Material shall not include, the

following information: (a) any information that is in the public domain at the time of disclosure

to a Receiving Party or becomes part of the public domain after its disclosure to a Receiving

Party as a result of publication not involving a violation of this Order, including becoming part

of the public record through trial or otherwise; (b) any information known to the Receiving Party

prior to the disclosure or obtained by the Receiving Party after the disclosure from a source who

obtained the information lawfully and under no obligation of confidentiality to the Designating

Party; (c) information that the Producing Party knows, at the time of disclosure, is in the

possession of any entity who is not subject to this Order or to any confidentiality or

nondisclosure agreement or other legal restriction on disclosure with respect to such information;

(d) information that is disclosed to a Receiving Party by, or acquired in the ordinary course of

business and in good faith from, a third party who is not, to a Receiving Party’s knowledge,

information or belief, in violation of this Order or to any confidentiality or nondisclosure

agreement or other legal restriction on disclosure with respect to such information; (e)

information that is lawfully independently developed, discovered, or arrived at by a Receiving

Party without violating this Order; or (f) any information which the Court orders not be protected

as Confidential Information or as “trade secret or confidential research, development, or

commercial information” under section 107(b)(1) of the Bankruptcy Code. For the avoidance of

doubt, “public domain” information includes, without limitation, any information that has been

obtained through a request under the federal Freedom of Information Act, the Freedom of

Information Law (“FOIL”), Article 6 (Sections 84-90) of the NYS Public Officers Law, or and

similar freedom of information or open records law of any state, territory, or municipality, as

well as excerpts, any information lodged in the publicly searchable or reviewable records of any



4876-5975-1096.5 18493.002                       6
 Case 23-60507-6-pgr            Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                  Desc
                                 Main Document     Page 12 of 49



court or other governmental agency. Any use of Protected Material at trial shall be governed by a

separate order.

4.        DURATION

          Even after final disposition of this Chapter 11 Case, the confidentiality obligations

imposed by this Order shall remain in effect until a Designating Party agrees otherwise in writing

or a court order otherwise directs. Final disposition shall be deemed to be the later of (1)

conversion or dismissal of this Chapter 11 Case; and (2) the closing of this Chapter 11 Case.

5.        DESIGNATING PROTECTED MATERIAL

          5.1       Exercise of Restraint and Care in Designating Material for Protection. Each Third

Party that designates information or items for protection under this Order must take care to limit

any such designation to specific material that qualifies under the appropriate standards. The

Designating Party must designate for protection only those parts of material, documents, items,

or oral or written communications that qualify – so that other portions of the material,

documents, items, or communications for which protection is not warranted are not swept

unjustifiably within the ambit of this Order.

          To the extent any information or items to be produced contains Survivor Personal

Information, the Third Party shall designate such material as “Confidential” and as containing

“Survivor Personal Information.”

          Mass, indiscriminate, or routinized designations are prohibited. Designations that are

shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

unnecessarily encumber or slow the case development process or to impose unnecessary

expenses and burdens on other parties) expose the Designating Party to sanctions.




4876-5975-1096.5 18493.002                          7
 Case 23-60507-6-pgr              Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00              Desc
                                   Main Document     Page 13 of 49



          If it comes to a Designating Party’s attention that information or items that it designated

for protection do not qualify for protection, that Designating Party must promptly notify all other

Parties that it is withdrawing the mistaken designation.

          5.2       Manner and Timing of Designations. Except as otherwise provided in this Order

(see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,

Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

designated before the material is disclosed or produced.

          Designation in conformity with this Order requires:

          (a)                For information in documentary form (e.g., paper or electronic documents,

but excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing

Party affix the legend “CONFIDENTIAL” to each page that contains protected material. If only

a portion or portions of the material on a page qualifies for protection, the Producing Party also

must clearly identify the protected portion(s) (e.g., by making appropriate markings in the

margins).

          A Producing Party that makes original documents or materials available for inspection

need not designate them for protection until after the inspecting Receiving Party has indicated

which material it would like copied and produced. During the inspection and before the

designation, all of the material made available for inspection shall be deemed

“CONFIDENTIAL.” After the Receiving Party has identified the documents it wants copied and

produced, the Producing Party must determine which documents, or portions thereof, qualify for

protection under this Order. Then, before producing the specified documents, the Producing

Party must affix the “CONFIDENTIAL” legend to each page that contains Protected Material. If

only a portion or portions of the material on a page qualifies for protection, the Producing Party



4876-5975-1096.5 18493.002                            8
 Case 23-60507-6-pgr              Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                  Desc
                                   Main Document     Page 14 of 49



also must clearly identify the protected portion(s) (e.g., by making appropriate markings in the

margins).

          (b)                for testimony given in deposition or in other pretrial or trial proceedings,

that the Designating Party identify on the record, before the close of the deposition, hearing, or

other proceeding, all protected testimony.

          (c)                for information produced in some form other than documentary and for

any other tangible items, that the Producing Party affix in a prominent place on the exterior of

the container or containers in which the information or item is stored the legend

“CONFIDENTIAL.” If only a portion or portions of the information or item warrant protection,

the Producing Party, to the extent practicable, shall identify the protected portion(s).

          5.3       Inadvertent Failures to Designate. If corrected within thirty (30) days of

disclosure, an inadvertent failure to designate qualified information or items does not, standing

alone, waive the Designating Party’s right to secure protection under this Order for such

material. Upon correction of a designation, the Receiving Party must make reasonable efforts to

assure that the material is treated in accordance with the provisions of this Order. Failure to

correct an inadvertent failure to designate qualified information or items within thirty (30) days

shall bar the Designating Party from subsequently designating such information or items

confidential.

6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS

          6.1       Timing of Challenges. Any Receiving Party may challenge a designation of

confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

burdens, or a significant disruption or delay of the Chapter 11 Case, a Receiving Party does not



4876-5975-1096.5 18493.002                             9
 Case 23-60507-6-pgr            Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00               Desc
                                 Main Document     Page 15 of 49



waive its right to challenge a confidentiality designation by electing not to mount a challenge

promptly after the original designation is disclosed.

          6.2       Meet and Confer. The Challenging Party shall initiate the dispute resolution

process by meeting and conferring with the Designating Party in a manner that complies with

Bankruptcy Local Rule 7026-2(a). A Challenging Party may proceed to the next stage of the

challenge process only if it has engaged in this meet and confer process first or establishes that

the Designating Party is unwilling to participate in the meet and confer process in a timely

manner.

          6.3       Judicial Intervention. If the Designating Party and Challenging Party cannot

resolve a challenge without court intervention, the Designating Party shall file and serve a

motion to retain confidentiality under Bankruptcy Local Rules 9013-1 within 21 days of the

initial notice of challenge or within 14 days of the Designating Party and Challenging Party

agreeing that the meet and confer process will not resolve their dispute, whichever is earlier.

Each such motion must be accompanied by a competent declaration affirming that the movant

has complied with the meet and confer requirements imposed in the preceding paragraph. Failure

by the Designating Party to make such a motion including the required declaration within 21

days (or 14 days, if applicable) shall automatically waive the confidentiality designation for each

challenged designation. In addition, the Challenging Party may file a motion challenging a

confidentiality designation at any time if there is good cause for doing so, including a challenge

to the designation of a deposition transcript or any portions thereof. Any motion brought

pursuant to this provision must be accompanied by a competent declaration affirming that the

movant has complied with the meet and confer requirements imposed by the preceding

paragraph.



4876-5975-1096.5 18493.002                          10
 Case 23-60507-6-pgr            Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                Desc
                                 Main Document     Page 16 of 49



          The burden of persuasion in any such challenge proceeding shall be on the Designating

Party. Frivolous challenges, and those made for an improper purpose (e.g., to harass or impose

unnecessary expenses and burdens on other parties) may expose the Challenging Party to

sanctions. Unless the Designating Party has waived the confidentiality designation by failing to

file a motion to retain confidentiality as described above, all Receiving Parties shall continue to

afford the material in question the level of protection to which it is entitled under the Producing

Party’s designation until the court rules on the challenge.

7.        ACCESS TO AND USE OF PROTECTED MATERIAL

          7.1       Basic Principles. A Receiving Party may use Protected Material that is disclosed

or produced by a Producing Party in connection with this Chapter 11 Case solely in connection

with this Chapter 11 Case, the Adversary Proceeding, or in any judicial, adversary or mediation

proceeding that may result therefrom. Such Protected Material may be disclosed only to the

categories of persons and under the conditions described in this Order. When the Chapter 11

Case has been terminated, a Receiving Party must comply with the provisions of section 13

below (FINAL DISPOSITION).

          Protected Material must be stored and maintained by a Receiving Party at a location and

in a secure manner that ensures that access is limited to the persons authorized under this Order.

          7.2       Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

ordered by the court or permitted in writing by the Designating Party, a Receiving Party may

receive material designated as “Confidential” and may disclose any information or item

designated “CONFIDENTIAL” only to:

          (a)       Another Receiving Party or person identified in this Section 7.2 (b) through (g);

          (b)       Experts (as defined in this Order) of the Receiving Party to whom disclosure is

reasonably necessary for this Chapter 11 Case or Adversary Proceeding, provided that a single

4876-5975-1096.5 18493.002                          11
 Case 23-60507-6-pgr             Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00               Desc
                                  Main Document     Page 17 of 49



natural person, as an authorized signatory on behalf of each such Expert, has signed the

“Acknowledgement and Agreement to be Bound” that is attached hereto as Exhibit A, who shall

not be required to provide a copy thereof to the other Parties absent a written request from

another Party for good cause or pursuant to an order of the Court;

          (c)        Consultants of the Receiving Party to whom disclosure is reasonably necessary

for this Chapter 11 Case or Adversary Proceeding, provided that a single natural person, as an

authorized signatory on behalf of each such Expert, has signed the “Acknowledgement and

Agreement to be Bound” that is attached hereto as Exhibit A, and A and provide such executed

Exhibit A to the Committee, Diocese, Insurers and the Producing Party;

          (d)       the court and its personnel;

          (e)       court reporters and their staff;

          (f)       professional jury or trial consultants, mock jurors, and Professional Vendors to

whom disclosure is reasonably necessary for this Chapter 11 Case or Adversary Proceeding;

provided that a single natural person, as an authorized signatory on behalf of each such

professional jury or trial consultant, mock juror, or Professional Vendor, has signed the

“Acknowledgment and Agreement to Be Bound” attached hereto as Exhibit A, who shall not be

required to provide a copy thereof to the other Parties absent a written request from another Party

for good cause or pursuant to an order of the Court;

          (g)       during their depositions, witnesses in the Chapter 11 Case to whom disclosure is

reasonably necessary and who have been advised of, and provided a copy of, this Order. Pages of

transcribed deposition testimony or exhibits to depositions that reveal Protected Material must be

separately bound by the court reporter and may not be disclosed to anyone except as permitted

under this Protective Order. For the avoidance of doubt, deposition witnesses may not retain any



4876-5975-1096.5 18493.002                             12
 Case 23-60507-6-pgr              Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00               Desc
                                   Main Document     Page 18 of 49



copies of documents marked “CONFIDENTIAL” unless they sign Exhibit A and provide such

executed Exhibit A to the Committee, Diocese, Insurers and the Producing Party;

          (h)       the author or recipient of a document containing the information or a custodian or

other person who otherwise possessed or knew the information.

          (i)       any neutral mediator or arbitrator appointed by the Court or retained by agreement

of the Parties in connection with the Chapter 11 Case or Adversary Proceeding, and such neutral

mediator’s or arbitrator’s staff.

          (j)       To the extent information or material is designated as “Confidential” and as

containing “Survivor Personal Information,” then, with respect to any Receiving Party or with

respect to any party being provided that material by a Receiving Party, Exhibit A must be signed

by each natural person being provided access to such information or material who is otherwise

permitted to be a Receiving Party or to receive the information from a Receiving Party, and such

executed Exhibit A shall be provided to the Committee, Diocese, Insurers and the Producing

Party.

8.        PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

LITIGATION

          If a Receiving Party is served with a subpoena or a court order issued in other litigation

that compels disclosure of any information or items designated pursuant to this Protective Order

as “CONFIDENTIAL,” such Receiving Party must:

          (a)                promptly notify in writing the Designating Party. Such notification shall

include a copy of the subpoena or court order;

          (b)                promptly notify in writing the party who caused the subpoena or order to

issue in the other litigation that some or all of the material covered by the subpoena or order is



4876-5975-1096.5 18493.002                            13
 Case 23-60507-6-pgr              Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                   Desc
                                   Main Document     Page 19 of 49



subject to this Protective Order. Such notification shall include a copy of this Protective Order;

and

          (c)                cooperate with respect to all reasonable procedures sought to be pursued

by the Designating Party whose Protected Material may be affected.

          If the Designating Party timely seeks a protective order, the Receiving Party served with

the subpoena or court order shall not produce any information designated in this Chapter 11 Case

as “CONFIDENTIAL” before a determination by the court from which the subpoena or order

issued, unless the Receiving Party has obtained the Designating Party’s permission. The

Designating Party shall bear the burden and expense of seeking protection in that court of its

confidential material – and nothing in these provisions should be construed as authorizing or

encouraging a Receiving Party in this Chapter 11 Case to disobey a lawful directive from another

court.

9.        A PRODUCING PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED

          IN THIS CHAPTER 11 CASE AND/OR THE ADVERSARY PROCEEDING

          (a)                The terms of this Protective Order are applicable to information produced

by a Third Party in this Chapter 11 Case and designated as “CONFIDENTIAL.” Such

information produced by Third Parties in connection with this Chapter 11 Case is protected by

the remedies and relief provided by this Protective Order. Nothing in these provisions should be

construed as prohibiting a Third Party from seeking additional protections.

          (b)                In the event that a Receiving Party is required, by a valid discovery

request, to produce a Producing Party’s confidential information in its possession, then the

Receiving Party shall:

                    (1)                     promptly notify in writing the party requesting such

information (the “Requesting Party”) and the Producing Party that some or all of the information

4876-5975-1096.5 18493.002                            14
 Case 23-60507-6-pgr              Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                 Desc
                                   Main Document     Page 20 of 49



requested is subject to this Protective Order or other confidentiality agreement with the

Producing Party;

                    (2)                     promptly provide the Requesting Party with a copy of the

Protective Order in this Chapter 11 Case, the relevant discovery request(s), and a reasonably

specific description of the information requested; and

                    (3)                     make the information requested available for inspection by

the Producing Party.

          (c)                If the Producing Party fails to object or seek a protective order from this

court within 14 days of receiving the notice and accompanying information, the Receiving Party

may produce the Producing Party’s confidential information responsive to the discovery request.

If the Producing Party timely seeks a protective order, the Receiving Party shall not produce any

information in its possession or control that is subject to this Protective Order or other

confidentiality agreement with the Producing Party before a determination by the court. Absent a

court order to the contrary, the Producing Party shall bear the burden and expense of seeking

protection in this court of its Protected Material.

10.       UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

Material to any person or in any circumstance not authorized under this Protective Order, the

Receiving Party must immediately (a) notify in writing the Designating Party of the unauthorized

disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected Material,

(c) inform the person or persons to whom unauthorized disclosures were made of all the terms of

this Order, and (d) request such person or persons to execute the “Acknowledgment and

Agreement to Be Bound” that is attached hereto as Exhibit A.

11.       INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

4876-5975-1096.5 18493.002                            15
 Case 23-60507-6-pgr            Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                 Desc
                                 Main Document     Page 21 of 49



MATERIAL

          When a Producing Party gives notice to Receiving Parties that certain inadvertently

produced material is subject to a claim of privilege or other protection, the obligations of the

Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). The

Producing Party must give notice of the inadvertent production of material within thirty (30)

days of producing such material. Failure to correct the inadvertent production of material within

thirty (30) days shall bar the Designating Party from subsequently claiming privilege or other

protection of the disclosed material. This provision is not intended to modify whatever procedure

may be established in an e-discovery order that provides for production without prior privilege

review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the Producing Party and

Receiving Party reach an agreement on the effect of disclosure of a communication or

information covered by the attorney-client privilege or work product protection, such parties may

incorporate their agreement in the stipulated protective order submitted to the court.

12.       MISCELLANEOUS

          12.1      Right to Further Relief. Nothing in this Order abridges the right of any person to

seek its modification by the court in the future.

          12.2      Right to Assert Other Objections. Nothing in this Protective Order waives any

right by a Producing Party that it otherwise would have to object to disclosing or producing any

information or item on any ground not addressed in this Protective Order. Similarly, no

Producing Party waives any right to object on any ground to use in evidence of any of the

material covered by this Protective Order.

          12.3      Filing Protected Material. Without written permission from the Designating Party

or a court order secured after appropriate notice to all interested persons, a Receiving Party may

not file in the public record in this Chapter 11 Case any Protected Material. A Receiving Party

4876-5975-1096.5 18493.002                           16
 Case 23-60507-6-pgr         Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                  Desc
                              Main Document     Page 22 of 49



that seeks to file under seal any Protected Material must comply with Bankruptcy Local Rule

9018-1. Protected Material may only be filed under seal pursuant to a court order authorizing the

sealing of the specific Protected Material at issue. Pursuant to Bankruptcy Local Rule 9018-1, a

sealing order will issue only upon a request establishing that the Protected Material at issue is

privileged, protectable as a trade secret, or otherwise entitled to protection under the law. If a

Receiving Party's request to file Protected Material under seal pursuant to Bankruptcy Local

Rule 9018-1 is denied by the Court, then the Receiving Party may file the information in the

public record pursuant to Bankruptcy Local Rule 9018-1 unless otherwise instructed by the

Court.

13.       FINAL DISPOSITION

          Unless otherwise agreed on by a Receiving Party and Producing Party or ordered by the

Court, each Receiving Party must make best efforts to return all Protected Material to the

Producing Party or destroy such material (i) within 60 days after the final disposition of this

Chapter 11 Case, Adversary Action or related insurance coverage proceeding, as defined in

paragraph 4, or (ii) after such time as is needed by a Producing Party to meet the requirements of

its auditors, accountants, regulatory agencies, or reinsurers, whichever of (i) or (ii) is longer. As

used in this subdivision, “all Protected Material” includes all copies, abstracts, compilations,

summaries, and any other format reproducing or capturing any of the Protected Material.

Whether best efforts are taken to return or destroy the Protected Material, the Receiving Party

must submit a written certification to the Producing Party (and, if not the same person or entity,

to the Designating Party) by the applicable deadline that (1) identifies (by category, where

appropriate) all the Protected Material that was returned or destroyed and (2) affirms that the

Receiving Party has made best efforts not to retain any copies, abstracts, compilations,

summaries or any other format reproducing or capturing any of the Protected Material.

4876-5975-1096.5 18493.002                        17
 Case 23-60507-6-pgr         Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                   Desc
                              Main Document     Page 23 of 49



          Notwithstanding the above requirements to return or destroy Protected Material, any

applicable Receiving Party or Counsel may retain (i) such Discovery Material as it reasonably

believes (and at all times continues to reasonably believe) are required in order to satisfy

applicable law, ethical, or professional obligations, (ii) any analyses, abstracts, studies,

summaries, or reports prepared by the Receiving Party or its Counsel based on, containing, or

reflecting Protected Material; (iii) any portions of the Protected Material that are publicly

available through no wrongful act or violation of this Protective Order on the part of the entity or

the individual who caused the information to become generally available to the public through

publication or otherwise, (iv) any Protected Material that is produced or stored in electronic

format and that is not reasonably capable of being returned or destroyed, and such Protected

Material shall remain confidential subject to the terms and restrictions contained in this

Protective Order and shall be stored in such a fashion so as to prevent their disclosure. Nothing

in this section shall require any party to destroy attorney work product or attorney-client

communications that contain or reflect Protected Material. Notwithstanding anything to the

contrary, the Receiving Party or its Counsel may retain such Protected Material in accordance

with this Protective Order, provided that they continue to treat all produced material in the

manner provided in this Protective Order, and (iv) any portions of Protected Material that it

reasonably believes cannot be practicably destroyed (such as oral communications, e-mail back-

up records, bank-up server tapes, and any records of similar such automated record-keeping or

other retention systems). Any retained Protected Material shall continue to be protected under

this Protective Order.

**END OF ORDER**




4876-5975-1096.5 18493.002                        18
 Case 23-60507-6-pgr          Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                 Desc
                               Main Document     Page 24 of 49



                                             EXHIBIT A

                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

          I, _____________________________ [print or type full name], of _________________

[print or type full address], declare under penalty of perjury that I have read in its entirety and

understand the Third-Party Protective Order that was issued by the United States Bankruptcy

Court for the Northern District of New York on [date] in the case of In re The Roman Catholic

Diocese of Ogdensburg, New York, Case No. 23-60507 (PGR) (the “Protective Order”). I agree

to comply with and to be bound by all the terms of this Protective Order and I understand and

acknowledge that failure to so comply could expose me to sanctions and punishment in the

nature of contempt. I solemnly promise that I will not disclose in any manner any information or

item that is subject to this Protective Order to any person or entity except in strict compliance

with the provisions of this Protective Order.

          I further acknowledge that I have read in its entirety and understand the Bar Date Order

that was issued by the United States Bankruptcy Court for the Northern District of New York on

[date] in the case of In re The Roman Catholic Diocese of Ogdensburg, New York, Case No. 23-

60507 (PGR) [Docket No. 203] (the “Bar Date Order”) and will comply in all respects with the

Bar Date Order, particularly the confidentiality provisions contained therein, and understand that,

with respect to any information from proofs of claim filed in this Chapter 11 Case, in the event of

any conflict between this Protective Order and the Bar Date Order, the Bar Date Order shall

control.

          I further agree to submit to the jurisdiction of the United States Bankruptcy Court for the

Northern District of New York for the purpose of enforcing the terms of the Protective Order,

even if such enforcement proceedings occur after termination of this Chapter 11 Case.




4876-5975-1096.5 18493.002
 Case 23-60507-6-pgr         Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00   Desc
                              Main Document     Page 25 of 49



Date: ______________________________________

City and State where sworn and signed: _________________________________

Printed name: _______________________________


Signature: __________________________________




4876-5975-1096.5 18493.002                   2
Case 23-60507-6-pgr   Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00   Desc
                       Main Document     Page 26 of 49




                         EXHIBIT B
 Case 23-60507-6-pgr         Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00            Desc
                              Main Document     Page 27 of 49




UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:

The Roman Catholic Diocese of                          Chapter 11
Ogdensburg, New York,
                                                       Case No. 23-60507 (PGR)
                               Debtor.



                             THIRD PARTY PROTECTIVE ORDER

          This Third-Party Protective Order (“Protective Order”) shall govern the production,

review, disclosure, and handling of any Disclosure or Discovery Material (as defined herein) by

any person or entityThird Party in connection with the above-captioned Chapter 11 case

pending before the United States Bankruptcy Court for the Northern District of New York (the

“Bankruptcy Court”), Case No. 23- 60507 (PGR) (the “Chapter 11 Case”) and/or

Adversary Case No. 23-80013-6 (the “Adversary Proceeding”).

          For the Avoidance of Doubt, this Order does not affect, amend or modify any existing

confidentiality agreements, protective orders applicable to any Producing Person and/or

Receiving Party, or any order of this Court entered in the Chapter 11 Case, including without

limitation the Order Establishing Bar Dates for Filing Proofs of Claim Bar Date Order [Docket

No. 203] in the Chapter 11 Case, the Protective Order Approving the Form of Confidentiality

Agreement Between the Roman Catholic Diocese of Ogdensburg, New York and the Official

Committee of Unsecured Creditors [Docket No. 219] and the Protective Order Approving the

Form of Confidentiality Agreement Between the Roman Catholic Diocese of Ogdensburg, New

York And Certain Insurance Carriers [Docket No. 244]. This Order applies to all disclosure




4876-5975-1096.1 18493.002
4876-5975-1096.5 18493.002
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00            Desc
                                    Main Document     Page 28 of 49



produced by a Third Party to a Receiving Party, formally or informally, on or after the date

hereof.

          With respect to any information from proofs of claim filed in this Chapter 11 Case, in

the event of any conflict between this Protective Order and the Bar Date Order, the Bar Date

Order shall control.


1.        PURPOSES AND LIMITATIONS

           Disclosure and discovery activity in this Chapter 11 Case may involve production by

 third parties of confidential, proprietary, or private information for which special protection

 from public disclosure may be warranted.

2.         DEFINITIONS

          2.1      Bar Date Order: Order Establishing Bar Dates for Filing Proofs of Claim Bar

Date Order [Docket No. 203].

          2.2      2.1 Challenging Party: a Party or Non-Receiving Party that challenges the

designation of information or items under this Order by a Designating Party.

          2.3      Committee Confidentiality Order: the confidentiality agreement among the

Debtor and the Committee, its members, professionals and counsel to the Committee members

signatory thereto that is the subject of the Protective Order Approving the Form of

Confidentiality Agreement Between the Roman Catholic Diocese of Ogdensburg, New York and

the Official Committee of Unsecured Creditors [Docket No. 219].

          2.4      2.2 “CONFIDENTIAL” Information or Items: information (regardless of how it is

generated, stored or maintained) or tangible things that qualify for protection under Federal Rule

of Bankruptcy Procedure 7026 and Federal Rule of Civil Procedure 26(c), including but not

limited to personally identifying information of alleged victims of sexual abuse.


4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   2
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00             Desc
                                    Main Document     Page 29 of 49



         2.5       2.3 Counsel (without qualifier): Outside Counsel of Record and House Counsel

(as well as their support staff).

         2.6       2.4 Designating Party: a Party or Non-Third Party that designates information or

items that it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”

         2.7       Diocese: the Diocese of Ogdensburg, N.Y.

         2.8       2.5 Disclosure or Discovery Material: all items or information, regardless of the

medium or manner in which it is generated, stored, or maintained (including, among other

things, testimony, transcripts, and tangible things), that are produced or generated in disclosures

or responses to discovery in this matter.

         2.9       2.6 Expert: a person with specialized knowledge or experience in a matter

pertinent to this Chapter 11 Case or Adversary Proceeding who has been retained by a Partyparty

or its counsel to serve as an expert witness or as a consultant in this Chapter 11 Case or

Adversary Proceeding.

         2.10      2.7 House Counsel: attorneys who are employees of a Partyparty in this Chapter

11 Case or a Producing Party and provide legal services to their employer in the scope of their

employment. House Counsel does not include Outside Counsel of Record or any other outside

counsel.

         2.8       Non-Party: any natural person, partnership, corporation, association, or other legal

entity that is not a Party in this Chapter 11 Case.

         2.11      Insurer Carrier Confidentiality Agreement: the confidentiality agreement among

the Debtor and the Insurers signatory that is the subject of the Protective Order Approving the

Form of Confidentiality Agreement Between the Roman Catholic Diocese of Ogdensburg, New

York And Certain Insurance Carriers [Docket No. 244].



4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   3
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                Desc
                                    Main Document     Page 30 of 49



         2.12      2.9 Outside Counsel of Record: attorneys who are not employees of a Partyparty

but are retained to represent or advise a Partyparty in this Chapter 11 Case and have appeared in

this Chapter 11 Case on behalf of that Partyparty or are affiliated with a law firm which has

appeared on behalf of that Party.

         2.10      Party: any party or party-in-interest in this Chapter 11 Case, including all of its

officers, directors, employees, consultants, retained experts, and Outside Counsel of Record (and

their support staffs)party.

         2.13      2.11 Producing Party: a Party or Non-Third Party that produces Disclosure or

Discovery Material in this Chapter 11 Case.

         2.14      2.12 Professional Vendors: persons or entities that provide litigation support

services (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

organizing, storing, or retrieving data in any form or medium) and their employees and

subcontractors.

         2.15      2.13 Protected Material: any Disclosure or Discovery Material that is designated

as “CONFIDENTIAL,” and is not excepted from the scope of Protected Material under Section

3 or any other applicable provision hereof.

         2.16      2.14 Receiving Party: any of the following Parties that receives Disclosure or

Discovery Material from a Producing Party:

         (a)       The Debtor and its employees;Diocese, its employees, its Outside Counsel of

Record, and any professionals retained by the Diocese provided that a single natural person, as

an authorized signatory on behalf of the Diocese, each Outside Counsel of Record and any

professionals retained by the Diocese, has signed the “Acknowledgement and Agreement to be

Bound” that is attached hereto as Exhibit A;



4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   4
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00           Desc
                                    Main Document     Page 31 of 49



          (b)      theThe defendant insurance companies in the Adversary Proceeding (each an

“Insurer” and collectively the “Insurers”) together with their officers, directors and employees

(including House Counsel) and their respective successors, regulators, reinsurers, administrators,

House Counsel and counselOutside Counsel, to whom it is reasonably necessary to disclose the

information for this Chapter 11 Case and Adversary Proceeding, provided that a single natural

person, as an authorized signatory on behalf of each such Insurer or Outside Counsel, has signed

the “Acknowledgement and Agreement to be Bound” that is attached hereto as Exhibit A;

          (c)      The Committee’s, its Outside Counsel of Record, and any professionals, members

of the Committee, including their respective counsel who are assisting with or making decisions

with respect to the Adversary Proceeding or the Chapter 11 Case, as to each strictly on a need to

know basis after they sign retained by the Committee provided that a single natural person, as an

authorized signatory on behalf of the Committee, each Outside Counsel of Record, \any

professionals retained by the Committee, and counsel for any individual Committee member has

signed the “Acknowledgement and Agreement to be Bound” that is attached hereto as Exhibit A

hereto;

          (d)      The U.S. Trustee; and

          (e)      Any other Third Party, with the consentpursuant to an order of the Producing

Person, who has signed Exhibit A heretoCourt; and

          (f)      Any other persons specified in Paragraph 117.2 below, assubject to each strictly

on a need to know basis after they sign Exhibit A hereto.any applicable requirements set forth in

Paragraph 7.2 below; and

          (g)      The executed acknowledgements required by Paragraph 2.16(a), (b) and (c) shall

be provided to the Diocese, Committee, Insurers and the Producing Party.



4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   5
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00            Desc
                                    Main Document     Page 32 of 49



         2.17      Survivor Personal Information: Any documents, information or other materials

containing the personal information of survivors asserting that they were sexually abused.

         2.18      Third Party: Great American Assurance Company, Arthur J. Gallagher and Co.,

Gallagher Bassett Services, Inc., National Catholic Risk Retention Group, Inc., and any other

person or entity, including any and all of its officers, directors, employees, consultants, retained

experts, House Counsel and Outside Counsel of Record (and their support staffs) that is not a

signatory to (i) the Insurer Carrier Confidentiality Agreement and defendant in the Adversary

Proceeding, or (ii) the Committee Confidentiality Agreement.

3.       SCOPE

         The protections conferred by this Order cover not only Protected Material (as defined

above), but also (1) any information copied or extracted from Protected Material; (2) all copies,

summaries, or compilations of Protected Material; and (3) any testimony, conversations, or

presentations by Parties or their Counsel that might reveal Protected Material. However, the

protections conferred by this Order do not cover, and Protected Material shall not include, the

following information: (a) any information that is in the public domain at the time of disclosure

to a Receiving Party or becomes part of the public domain after its disclosure to a Receiving

Party as a result of publication not involving a violation of this Order, including becoming part

of the public record through trial or otherwise; (b) any information known to the Receiving Party

prior to the disclosure or obtained by the Receiving Party after the disclosure from a source who

obtained the information lawfully and under no obligation of confidentiality to the Designating

Party; (c) information that the Producing Party knows, at the time of disclosure, is in the

possession of any entity who is not subject to this Order or to any confidentiality or

nondisclosure agreement or other legal restriction on disclosure with respect to such information;



4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   6
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00              Desc
                                    Main Document     Page 33 of 49



(d) information that is disclosed to a Receiving Party by, or acquired in the ordinary course of

business and in good faith from, a third party who is not, to a Receiving Party’s knowledge,

information or belief, in violation of this Order or to any confidentiality or nondisclosure

agreement or other legal restriction on disclosure with respect to such information; (e)

information that is lawfully independently developed, discovered, or arrived at by a Receiving

Party without violating this Order; or (f) any information which the Court orders not be protected

as Confidential Information or as “trade secret or confidential research, development, or

commercial information” under section 107(b)(1) of the Bankruptcy Code. For the avoidance of

doubt, “public domain” information includes, without limitation, any information that may behas

been obtained through a request under the federal Freedom of Information Act, the Freedom of

Information Law (“FOIL”), Article 6 (Sections 84-90) of the NYS Public Officers Law, or and

similar freedom of information or open records law of any state, territory, or municipality, as

well as excerpts, any information lodged in the publicly searchable or reviewable records of any

court or other governmental agency. Any use of Protected Material at trial shall be governed by a

separate order.

4.       DURATION

         Even after final disposition of this Chapter 11 Case, the confidentiality obligations

imposed by this Order shall remain in effect until a Designating Party agrees otherwise in writing

or a court order otherwise directs. Final disposition shall be deemed to be the later of (1)

conversion or dismissal of this Chapter 11 Case; and (2) the closing of this Chapter 11 Case.

5.       DESIGNATING PROTECTED MATERIAL

         5.1       Exercise of Restraint and Care in Designating Material for Protection. Each Party

or Non-Third Party that designates information or items for protection under this Order must take



4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   7
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00             Desc
                                    Main Document     Page 34 of 49



care to limit any such designation to specific material that qualifies under the appropriate

standards. The Designating Party must designate for protection only those parts of material,

documents, items, or oral or written communications that qualify – so that other portions of the

material, documents, items, or communications for which protection is not warranted are not

swept unjustifiably within the ambit of this Order.

         To the extent any information or items to be produced contains Survivor Personal

Information, the Third Party shall designate such material as “Confidential” and as containing

“Survivor Personal Information.”

         Mass, indiscriminate, or routinized designations are prohibited. Designations that are

shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

unnecessarily encumber or retardslow the case development process or to impose unnecessary

expenses and burdens on other parties) expose the Designating Party to sanctions.

         If it comes to a Designating Party’s attention that information or items that it designated

for protection do not qualify for protection, that Designating Party must promptly notify all other

Parties that it is withdrawing the mistaken designation.

         5.2       Manner and Timing of Designations. Except as otherwise provided in this Order

(see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,

Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

designated before the material is disclosed or produced.

         Designation in conformity with this Order requires:

         (a)                For information in documentary form (e.g., paper or electronic documents,

but excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing

Party affix the legend “CONFIDENTIAL” to each page that contains protected material. If only a



4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   8
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                Desc
                                    Main Document     Page 35 of 49



portion or portions of the material on a page qualifies for protection, the Producing Party also

must clearly identify the protected portion(s) (e.g., by making appropriate markings in the

margins).

         A Party or Non-Producing Party that makes original documents or materials available for

inspection need not designate them for protection until after the inspecting Receiving Party has

indicated which material it would like copied and produced. During the inspection and before the

designation, all of the material made available for inspection shall be deemed

“CONFIDENTIAL.” After the inspectingReceiving Party has identified the documents it wants

copied and produced, the Producing Party must determine which documents, or portions thereof,

qualify for protection under this Order. Then, before producing the specified documents, the

Producing Party must affix the “CONFIDENTIAL” legend to each page that contains Protected

Material. If only a portion or portions of the material on a page qualifies for protection, the

Producing Party also must clearly identify the protected portion(s) (e.g., by making appropriate

markings in the margins).

         (b)                for testimony given in deposition or in other pretrial or trial proceedings,

that the Designating Party identify on the record, before the close of the deposition, hearing, or

other proceeding, all protected testimony.

         (c)                for information produced in some form other than documentary and for

any other tangible items, that the Producing Party affix in a prominent place on the exterior of

the container or containers in which the information or item is stored the legend

“CONFIDENTIAL.” If only a portion or portions of the information or item warrant protection,

the Producing Party, to the extent practicable, shall identify the protected portion(s).




4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   9
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00               Desc
                                    Main Document     Page 36 of 49



         5.3       Inadvertent Failures to Designate. If timely corrected within thirty (30) days of

disclosure, an inadvertent failure to designate qualified information or items does not, standing

alone, waive the Designating Party’s right to secure protection under this Order for such

material. Upon timely correction of a designation, the Receiving Party must make reasonable

efforts to assure that the material is treated in accordance with the provisions of this Order.

Failure to correct an inadvertent failure to designate qualified information or items within thirty

(30) days shall bar the Designating Party from subsequently designating such information or

items confidential.

6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS

         6.1       Timing of Challenges. Any Party or Non-Receiving Party may challenge a

designation of confidentiality at any time. Unless a prompt challenge to a Designating Party’s

confidentiality designation is necessary to avoid foreseeable, substantial unfairness, unnecessary

economic burdens, or a significant disruption or delay of the Chapter 11 Case, a Receiving Party

does not waive its right to challenge a confidentiality designation by electing not to mount a

challenge promptly after the original designation is disclosed.

         6.2       Meet and Confer. The Challenging Party shall initiate the dispute resolution

process by providing written notice of each designation it is challenging and describing the basis

for each challenge. To avoid ambiguity as to whether a challenge has been made, the written

notice must recite that the challenge to confidentiality is being made in accordance with this

specific paragraph of the Protective Order. The Parties shall attempt to resolve each challenge in

good faith and must begin the process by conferring directly (in voice to voice dialogue; other

forms of communication are not sufficient) within 14 days of the date of service of notice. In

conferring, the Challenging Party must explain the basis for its belief that the confidentiality



4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   10
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00               Desc
                                    Main Document     Page 37 of 49



designation was not proper and must give the Designating Party an opportunity to review the

designated material, to reconsider the circumstances, and, if no change in designation is offered,

to explain the basis for the chosen designationmeeting and conferring with the Designating Party

in a manner that complies with Bankruptcy Local Rule 7026-2(a). A Challenging Party may

proceed to the next stage of the challenge process only if it has engaged in this meet and confer

process first or establishes that the Designating Party is unwilling to participate in the meet and

confer process in a timely manner.

         6.3       Judicial Intervention. If the PartiesDesignating Party and Challenging Party

cannot resolve a challenge without court intervention, the Designating Party shall file and serve a

motion to retain confidentiality under Bankruptcy Local Rules 9013-1 within 21 days of the

initial notice of challenge or within 14 days of the PartiesDesignating Party and Challenging

Party agreeing that the meet and confer process will not resolve their dispute, whichever is

earlier. Each such motion must be accompanied by a competent declaration affirming that the

movant has complied with the meet and confer requirements imposed in the preceding

paragraph. Failure by the Designating Party to make such a motion including the required

declaration within 21 days (or 14 days, if applicable) shall automatically waive the

confidentiality designation for each challenged designation. In addition, the Challenging Party

may file a motion challenging a confidentiality designation at any time if there is good cause for

doing so, including a challenge to the designation of a deposition transcript or any portions

thereof. Any motion brought pursuant to this provision must be accompanied by a competent

declaration affirming that the movant has complied with the meet and confer requirements

imposed by the preceding paragraph.




4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   11
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00           Desc
                                    Main Document     Page 38 of 49



         The burden of persuasion in any such challenge proceeding shall be on the Designating

Party. Frivolous challenges, and those made for an improper purpose (e.g., to harass or impose

unnecessary expenses and burdens on other parties) may expose the Challenging Party to

sanctions. Unless the Designating Party has waived the confidentiality designation by failing to

file a motion to retain confidentiality as described above, all Receiving Parties shall continue to

afford the material in question the level of protection to which it is entitled under the Producing

Party’s designation until the court rules on the challenge.

7.       ACCESS TO AND USE OF PROTECTED MATERIAL

         7.1       Basic Principles. A Receiving Party may use Protected Material that is disclosed

or produced by another Party or by a Non-a Producing Party in connection with this Chapter 11

Case solely in connection with this Chapter 11 Case, the Adversary Proceeding, or in any

judicial, adversary or mediation proceeding that may result therefrom. Such Protected Material

may be disclosed only to the categories of persons and under the conditions described in this

Order. When the Chapter 11 Case has been terminated, a Receiving Party must comply with the

provisions of section 13 below (FINAL DISPOSITION).

         Protected Material must be stored and maintained by a Receiving Party at a location and

in a secure manner that ensures that access is limited to the persons authorized under this Order.

         7.2       Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered

by the court or permitted in writing by the Designating Party, a Receiving Party may receive

material designated as “Confidential” and may disclose any information or item designated

“CONFIDENTIAL” only to:

         (a)       the Receiving Party’s Outside Counsel of Record in this Chapter 11 Case, as well

as employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose



4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   12
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00            Desc
                                    Main Document     Page 39 of 49



the information for this Chapter 11 Case, provided that a single natural person on behalf of each

such Outside Counsel of Record has signed the “Acknowledgment and Agreement to Be Bound”

that is attached hereto as Exhibit A;Another Receiving Party or person identified in this Section

7.2 (b) through (g);

         (b)                the officers, directors, and employees (including House Counsel) of the

Receiving Party to whom disclosure is reasonably necessary for this Chapter 11 Case and who

have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

         (b)       (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is

reasonably necessary for this Chapter 11 Case or Adversary Proceeding and who have, provided

that a single natural person, as an authorized signatory on behalf of each such Expert, has signed

the “Acknowledgement and Agreement to be Bound” that is attached hereto as Exhibit A, who

shall not be required to provide a copy thereof to the other Parties absent a written request from

another Party for good cause or pursuant to an order of the Court;

         (c)       Consultants of the Receiving Party to whom disclosure is reasonably necessary

for this Chapter 11 Case or Adversary Proceeding, provided that a single natural person, as an

authorized signatory on behalf of each such Expert, has signed the

“AcknowledgmentAcknowledgement and Agreement to Bebe Bound” (that is attached hereto as

Exhibit A), and A and provide such executed Exhibit A to the Committee, Diocese, Insurers and

the Producing Party;

         (d)       the court and its personnel;

         (e)       court reporters and their staff,;

         (f)       professional jury or trial consultants, mock jurors, and Professional Vendors to

whom disclosure is reasonably necessary for this Chapter 11 Case or Adversary Proceeding and



4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   13
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00               Desc
                                    Main Document     Page 40 of 49



who have; provided that a single natural person, as an authorized signatory on behalf of each

such professional jury or trial consultant, mock juror, or Professional Vendor, has signed the

“Acknowledgment and Agreement to Be Bound” (attached hereto as Exhibit A), who shall not

be required to provide a copy thereof to the other Parties absent a written request from another

Party for good cause or pursuant to an order of the Court;

         (g)       (f) during their depositions, witnesses in the Chapter 11 Case to whom disclosure

is reasonably necessary and who have been advised of, and provided a copy of, this Order. Pages

of transcribed deposition testimony or exhibits to depositions that reveal Protected Material must

be separately bound by the court reporter and may not be disclosed to anyone except as permitted

under this Protective Order. For the avoidance of doubt, deposition witnesses may not retain any

copies of documents marked “CONFIDENTIAL” unless they sign Exhibit A and provide such

executed Exhibit A to the Committee, Diocese, Insurers and the Producing Party;

         (h)       (g) the author or recipient of a document containing the information or a

custodian or other person who otherwise possessed or knew the information; .

         (i)       (h) any neutral mediator or arbitrator appointed by the Court or retained by

agreement of the Parties in connection with the Chapter 11 Case or Adversary Proceeding, and

such neutral mediator’s or arbitrator’s staff.

         (j)       To the extent information or material is designated as “Confidential” and as

containing “Survivor Personal Information,” then, with respect to any Receiving Party or with

respect to any party being provided that material by a Receiving Party, Exhibit A must be signed

by each natural person being provided access to such information or material who is otherwise

permitted to be a Receiving Party or to receive the information from a Receiving Party, and such




4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   14
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00              Desc
                                    Main Document     Page 41 of 49



executed Exhibit A shall be provided to the Committee, Diocese, Insurers and the Producing

Party.

8.       PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

LITIGATION

         If a Receiving Party is served with a subpoena or a court order issued in other litigation

that compels disclosure of any information or items designated inpursuant to this Chapter 11

CaseProtective Order as “CONFIDENTIAL,” thatsuch Receiving Party must:

         (a)                promptly notify in writing the Designating Party. Such notification shall

include a copy of the subpoena or court order;

         (b)                promptly notify in writing the party who caused the subpoena or order to

issue in the other litigation that some or all of the material covered by the subpoena or order is

subject to this Protective Order. Such notification shall include a copy of this Protective Order;

and

         (c)                cooperate with respect to all reasonable procedures sought to be pursued

by the Designating Party whose Protected Material may be affected.

         If the Designating Party timely seeks a protective order, the Receiving Party served with

the subpoena or court order shall not produce any information designated in this Chapter 11 Case

as “CONFIDENTIAL” before a determination by the court from which the subpoena or order

issued, unless the Receiving Party has obtained the Designating Party’s permission. The

Designating Party shall bear the burden and expense of seeking protection in that court of its

confidential material – and nothing in these provisions should be construed as authorizing or

encouraging a Receiving Party in this Chapter 11 Case to disobey a lawful directive from another

court.



4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   15
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                   Desc
                                    Main Document     Page 42 of 49



9.       A NON-PRODUCING PARTY’S PROTECTED MATERIAL SOUGHT TO BE

         PRODUCED IN THIS CHAPTER 11 CASE AND/OR THE ADVERSARY

         PROCEEDING

         (a)                The terms of this Protective Order are applicable to information produced

by a Non-Third Party in this Chapter 11 Case and designated as “CONFIDENTIAL.” Such

information produced by Non-Third Parties in connection with this Chapter 11 Case is protected

by the remedies and relief provided by this Protective Order. Nothing in these provisions should

be construed as prohibiting a Non-Third Party from seeking additional protections.

         (b)                In the event that a Receiving Party is required, by a valid discovery

request, to produce a Non-Producing Party’s confidential information in its possession, and the

Party is subject to an agreement with the Non-Party not to produce the Non-Party’s confidential

information, then the Receiving Party shall:

                   (1)                         promptly notify in writing the party requesting such

information (the “Requesting Party”) and the Non-Producing Party that some or all of the

information requested is subject to athis Protective Order or other confidentiality agreement with

a Non-the Producing Party;

                   (2)                         promptly provide the Non-Requesting Party with a copy of

the Protective Order in this Chapter 11 Case, the relevant discovery request(s), and a reasonably

specific description of the information requested; and

                   (3)                         make the information requested available for inspection by

the Non-Producing Party.

         (c)                If the Non-Producing Party fails to object or seek a protective order from

this court within 14 days of receiving the notice and accompanying information, the Receiving



4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   16
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00            Desc
                                    Main Document     Page 43 of 49



Party may produce the Non-Producing Party’s confidential information responsive to the

discovery request. If the Non-Producing Party timely seeks a protective order, the Receiving

Party shall not produce any information in its possession or control that is subject to thethis

Protective Order or other confidentiality agreement with the Non-Producing Party before a

determination by the court. Absent a court order to the contrary, the Non-Producing Party shall

bear the burden and expense of seeking protection in this court of its Protected Material.

10.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

Material to any person or in any circumstance not authorized under this Protective Order, the

Receiving Party must immediately (a) notify in writing the Designating Party of the unauthorized

disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected Material,

(c) inform the person or persons to whom unauthorized disclosures were made of all the terms of

this Order, and (d) request such person or persons to execute the “Acknowledgment and

Agreement to Be Bound” that is attached hereto as Exhibit A.

11.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

MATERIAL

         When a Producing Party gives notice to Receiving Parties that certain inadvertently

produced material is subject to a claim of privilege or other protection, the obligations of the

Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). The

Producing Party must give notice of the inadvertent production of material within thirty (30) days

of producing such material. Failure to correct the inadvertent production of material within thirty

(30) days shall bar the Designating Party from subsequently claiming privilege or other

protection of the disclosed material. This provision is not intended to modify whatever procedure



4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   17
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00             Desc
                                    Main Document     Page 44 of 49



may be established in an e-discovery order that provides for production without prior privilege

review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the PartiesProducing

Party and Receiving Party reach an agreement on the effect of disclosure of a communication or

information covered by the attorney-client privilege or work product protection, the Partiessuch

parties may incorporate their agreement in the stipulated protective order submitted to the court.

12.      MISCELLANEOUS

         12.1      Right to Further Relief. Nothing in this Order abridges the right of any person to

seek its modification by the court in the future.

         12.2      Right to Assert Other Objections. Nothing in this Protective Order waives any

right by a Producing Party that it otherwise would have to object to disclosing or producing any

information or item on any ground not addressed in this Protective Order. Similarly, no

Producing Party waives any right to object on any ground to use in evidence of any of the

material covered by this Protective Order.

         12.3      Filing Protected Material. Without written permission from the Designating Party

or a court order secured after appropriate notice to all interested persons, a Receiving Party may

not file in the public record in this Chapter 11 Case any Protected Material. A Receiving Party

that seeks to file under seal any Protected Material must comply with Bankruptcy Local Rule

9018-1. Protected Material may only be filed under seal pursuant to a court order authorizing the

sealing of the specific Protected Material at issue. Pursuant to Bankruptcy Local Rule 9018-1, a

sealing order will issue only upon a request establishing that the Protected Material at issue is

privileged, protectable as a trade secret, or otherwise entitled to protection under the law. If a

Receiving Party's request to file Protected Material under seal pursuant to Bankruptcy Local Rule




4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   18
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00             Desc
                                    Main Document     Page 45 of 49



9018-1 is denied by the Court, then the Receiving Party may file the information in the public

record pursuant to Bankruptcy Local Rule 9018-1 unless otherwise instructed by the Court.

13.      FINAL DISPOSITION

         EachUnless otherwise agreed on by a Receiving Party and Producing Party or ordered by

the Court, each Receiving Party must make best efforts to return all Protected Material to the

Producing Party or destroy such material (i) within 60 days after the final disposition of this

Chapter 11 Case, Adversary Action or related insurance coverage proceeding, as defined in

paragraph 4, or (ii) after such time as is needed by a Producing Party to meet the requirements of

its auditors, accountants, regulatory agencies, or reinsurers, whichever of (i) or (ii) is longer. As

used in this subdivision, “all Protected Material” includes all copies, abstracts, compilations,

summaries, and any other format reproducing or capturing any of the Protected Material.

Whether best efforts are taken to return or destroy the Protected Material, the Receiving Party

must submit a written certification to the Producing Party (and, if not the same person or entity,

to the Designating Party) by the applicable deadline that (1) identifies (by category, where

appropriate) all the Protected Material that was returned or destroyed and (2) affirms that the

Receiving Party has made best efforts not to retain any copies, abstracts, compilations,

summaries or any other format reproducing or capturing any of the Protected Material.

         Notwithstanding the above requirements to return or destroy Protected Material, any

applicable Receiving Party or Counsel may retain (i) such Discovery Material as it reasonably

believes (and at all times continues to reasonably believe) are required in order to satisfy

applicable law, ethical, or professional obligations, (ii) any analyses, abstracts, studies,

summaries, or reports prepared by the Receiving Party or its Counsel based on, containing, or

reflecting Protected Material; (iii) any portions of the Protected Material that are publicly



4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   19
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00             Desc
                                    Main Document     Page 46 of 49



available through no wrongful act or violation of this Protective Order on the part of the entity or

the individual who caused the information to become generally available to the public through

publication or otherwise, (iv) any Protected Material that is produced or stored in electronic

format and that is not reasonably capable of being returned or destroyed, and such Protected

Material shall remain confidential subject to the terms and restrictions contained in this

Protective Order and shall be stored in such a fashion so as to prevent their disclosure. Nothing

in this section shall require any party to destroy attorney work product or attorney-client

communications that contain or reflect Protected Material. Notwithstanding anything to the

contrary, the Receiving Party or its Counsel may retain such Protected Material in accordance

with this Protective Order, provided that they continue to treat all produced material in the

manner provided in this Protective Order, and (iv) any portions of Protected Material that it

reasonably believes cannot be practicably destroyed (such as oral communications, e-mail

back-up records, bank-up server tapes, and any records of similar such automated record-keeping

or other retention systems). Any retained Protected Material shall continue to be protected under

this Protective Order.

**END OF ORDER**




4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   20
 Case 23-60507-6-pgr         Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00                   Desc
                              Main Document     Page 47 of 49



                                            EXHIBIT A

                   ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

         I, _____________________________ [print or type full name], of _________________

[print or type full address], declare under penalty of perjury that I have read in its entirety and

understand the Third-Party Protective Order that was issued by the United States Bankruptcy

Court for the Northern District of New York on [date] in the case of In re The Roman Catholic

Diocese of Ogdensburg, New York, Case No. 23-60507 (PGR) (the “Protective Order”). I agree

to comply with and to be bound by all the terms of this Protective Order and I understand and

acknowledge that failure to so comply could expose me to sanctions and punishment in the

nature of contempt. I solemnly promise that I will not disclose in any manner any information or

item that is subject to this Protective Order to any person or entity except in strict compliance

with the provisions of this Protective Order.

         I further acknowledge that I have read in its entirety and understand the Bar Date Order

that was issued by the United States Bankruptcy Court for the Northern District of New York on

[date] in the case of In re The Roman Catholic Diocese of Ogdensburg, New York, Case No.

23-60507 (PGR) [Docket No. 203] (the “Bar Date Order”) and will comply in all respects with

the Bar Date Order, particularly the confidentiality provisions contained therein, and understand

that, with respect to any information from proofs of claim filed in this Chapter 11 Case, in the

event of any conflict between this Protective Order and the Bar Date Order, the Bar Date Order

shall control.

         I further agree to submit to the jurisdiction of the United States Bankruptcy Court for the

Northern District of New York for the purpose of enforcing the terms of the Protective Order,

even if such enforcement proceedings occur after termination of this Chapter 11 Case.




4876-5975-1096.1 18493.002
4876-5975-1096.5 18493.002
 Case 23-60507-6-pgr               Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00   Desc
                                    Main Document     Page 48 of 49



Date: ______________________________________

City and State where sworn and signed: _________________________________

Printed name: _______________________________


Signature: __________________________________




4876-5975-1096.1 18493.002 4876-5975-1096.5 18493.002   2
Case 23-60507-6-pgr     Doc 503 Filed 04/30/24 Entered 04/30/24 14:46:00   Desc
                         Main Document     Page 49 of 49




  Document comparison by Workshare Compare on Tuesday, April 30, 2024
  1:10:12 PM
  Input:
  Document 1 ID       netdocuments://4876-5975-1096/1
  Description         Century Proposed Third Party Protective Order
  Document 2 ID       netdocuments://4876-5975-1096/5
  Description         Century Proposed Third Party Protective Order
  Rendering set       Standard

  Legend:
  Insertion
  Deletion
  Moved from
  Moved to
  Style change
  Format change
  Moved deletion
  Inserted cell
  Deleted cell
  Moved cell
  Split/Merged cell
  Padding cell

  Statistics:
                                          Count
  Insertions                               149
  Deletions                                 97
  Moved from                                 4
  Moved to                                   4
  Style changes                              0
  Format changes                             0
  Total changes                            254
